813 F.2d 402Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony RENNICK, Appellant,v.STATE'S OF MARYLAND, Appellee.
    No. 86-6531.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 5, 1986.Decided Oct. 2, 1986.
    
      Before WIDENER, PHILLIPS, and SPROUSE Circuit Judges.
      Anthony Rennick, appellant pro se.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, deny the motion for appointment of counsel, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Rennick v. Maryland, C/A No. Y-85-4375 (D.Md., Dec. 23, 1985)
    
    
      2
      DISMISSED.
    
    